          Case 1:20-cv-00681-CKK Document 14 Filed 08/12/20 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                   )
    FLETA CHRISTINA COUSIN SABRA,                  )
                                                   )
                               Plaintiff,          )
                                                   )
         v.                                        )
                                                            Civil Action No. 20-0681 (CKK)
                                                   )
    U.S. CUSTOMS AND BORDER                        )
    PROTECTION,                                    )
                                                   )
                               Defendant.          )
                                                   )

                             DEFENDANT’S STATUS REPORT

        Pursuant to the Court’s June 3, 2020, Minute Order, defendant respectfully submits this

status report for this Freedom of Information Act (“FOIA”) case.

        When defendant’s counsel emailed a version of this report to plaintiff’s counsel on

August 10, 2020, plaintiff’s counsel responded by providing text consisting of plaintiff’s legal

arguments. 1 Although the June 3, 2020, Minute Order required the parties to file a joint status

report, defendant could not agree to plaintiff’s proposed text, which again inappropriately

includes plaintiff’s legal arguments. See ECF No. 11, Def. Status Report dated June 1, 2020, at

1, 3 (noting that plaintiff’s legal arguments for her anticipated motion and rehashing of her




1
         The proposed text that plaintiff provided contained her legal arguments, including that she
is entitled to judgment on the pleadings, her legal conclusion that “up to eight additional months”
to complete the agency’s “initial production” “violates” the FOIA, and a preview of yet another
partial dispositive motion that she intends to file.
             Case 1:20-cv-00681-CKK Document 14 Filed 08/12/20 Page 2 of 3




arguments for her motion for judgment on the pleadings were inappropriate for a joint status

report). 2

        Defendant United States Customs and Border Protection (“CBP”) has advised that it

completed reviewing 13,883 pages of potentially responsive records during June and that 13,740

of those pages were deemed nonresponsive and 143 pages were released with redactions on June

11, 2020. CBP further advised that after it received waivers that plaintiff’s counsel emailed to

defendant’s counsel on June 9, 2020, it re-reviewed the responsive pages and released a modified

version of those pages on June 23, 2020.

        CBP has advised that it completed its review of the three audio records and released

redacted versions on July 7, 2020. CBP has further advised that it completed its review of one

video record and released a redacted version on August 10, 2020.

        CBP has advised that the only records that remain to be processed are seven video files

with associated audio, which consist of a total of 102 minutes of video footage. CBP further

advised that it is possible that some of the footage may be duplicative but it will not be able to

ascertain whether any of the footage is a true duplicate until after that footage is fully reviewed

and processed. CBP has advised that the inconsistent quality of the videos significantly affects

the time required to apply redactions and that its best current estimate is that it will need between

two to eight months to complete its review of the remaining video files.

        CBP respectfully requests that the Court permit it to file another status report on or before

October 16, 2020, to provide an update regarding the agency’s processing of the video files with

associated audio.


2
       On August 11, 2020, in the tenth email exchanged regarding this report, defendant’s
counsel noted that conferral for this status report had ended and that she had to focus on an 11 am
telephonic motion hearing and a motion for a temporary restraining order.


                                                -2-
        Case 1:20-cv-00681-CKK Document 14 Filed 08/12/20 Page 3 of 3




Dated: August 12, 2020
                                    Respectfully submitted,

                                    MICHAEL R. SHERWIN
                                    Acting United States Attorney

                                    DANIEL F. VAN HORN, D.C. Bar #924092
                                    Chief, Civil Division

                                    By: /s/ Marsha W. Yee
                                    MARSHA W. YEE
                                    Assistant United States Attorney
                                    Civil Division
                                    United States Attorney’s Office
                                    555 4th Street, N.W.
                                    Washington, D.C. 20530
                                    Telephone: (202) 252-2539
                                    Email: Marsha.Yee@usdoj.gov

                                    Counsel for Defendant




                                    -3-
